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AO 440, (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of New York

CAN'T STOP PRODUCTIONS, INC. )
)
)
)
Plaintiff(s) )
v. Civil Action No, 7:17-CV-06513-CS
SIXUVUS, LTD, ET. AL. )
)
)
)
Defendant(s) )
SUMMONS IN A CIVIL ACTION
SEE ATTACHED

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

KAREN L. WILLIS, J.D.

220 WEST G STREET, SUITE E.
SAN DIEGO, CA. 92101

(619) 206-5311

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
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ATTACHMENT TO SUMMONS ~
7:17-CV-06513-CS

TO THE FOLLOWING DEFENDANTS:

1.

A LAWSUIT HAS BEEN FILED AGAINST EACH OF YOU. SEE ATTACHED SUMMONS.

Red Entertainment Agency

505 8" Avenue, Suite 1004

New York, NY. 10018
Pennsylvania Horticultural Society
100 North 20" Street
Philadelphia, PA. 19103
Facebook, Inc.

1 Hacher Way

Menlo Park, CA. 94025

Mewes Entertainment Group
Friedrich-Ebert-Damm 145

22047 Hamburg, Germany
Universal Attractions Agency, Inc.
15 West 36" Street, 8" Fl.

New York, NY. 10018

Celebrity Direct Entertainment, Inc.

2587 Lakeshore Cir.

Port Charlotte, FL. 33952
Andrew Pacho

37 West 26" St. 9 FI.
New York, NY. 10010
Texan Theatre

102 E. Houston Street
Houston, TX. 77327

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